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     ORDERED in the Southern District of Florida on September 25, 2018.




                                                  Robert A. Mark, Judge
                                                  United States Bankruptcy Court
_____________________________________________________________________________




                    UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF FLORIDA
  __________________________________
                                     )
  In re:                             )   CASE NO. 18-13386-RAM
                                     )   CHAPTER 7
  RAFAEL ANGEL GONZALEZ MENDOZA and )
  CARMEN CECILIA BALGUER PERAL,      )
                                     )
                 Debtors.            )
                                     )

         ORDER SETTING REPLY DEADLINE AND FURTHER HEARING ON
    CHAPTER 7 TRUSTEE’S OBJECTION TO DEBTORS’ CLAIM OF EXEMPTIONS

       The Court conducted a preliminary hearing on September 13, 2018

  on the Trustee, Marcia T. Dunn’s (the “Trustee”) Objection to

  Debtors’ Scheduled Valuation and Claimed Exemption of Scheduled

  Property (the “Objection to Exemptions”) [DE #53].             For the reasons
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stated on the record at the hearing, which are incorporated here by

reference, it is -

      ORDERED as follows:

      1.     The Court will conduct a further nonevidentiary hearing

on the Objection to Exemptions on October 17, 2018 at 10:00 a.m.,

at   the   U.S.   Bankruptcy     Court,       C.   Clyde    Atkins     United     States

Courthouse, 301 North Miami Avenue, Courtroom 4, Miami, Florida

33128.

      2.     At   the   hearing,   the    Court      will       consider   only    legal

argument on the issue of whether the Debtors are entitled to claim

the federal exemptions set forth in 11 U.S.C. § 522(d).

      3.     The Trustee shall file a reply in support of her Objection

to Exemptions by October 9, 2018.

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COPIES TO:

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